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 7                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 8                                  (SAN FRANCISCO DIVISION)

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10   IN RE: CATHODE RAY TUBE (CRT)                               Case No. 07-cv-5944 (JST)
     ANTITRUST LITIGATION                                        MDL No. 1917
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12   This Document Relates to:                                   [PROPOSED] ORDER OF
                                                                 DISMISSAL WITHOUT PREJUDICE
13   Individual Case No. 13-cv-05262                             AS TO TECHNICOLOR AND TDA
                                                                 DEFENDANTS
14   SEARS, ROEBUCK AND CO. and KMART
     CORP.,
15
                          Plaintiffs,
16
                    v.
17
     TECHNICOLOR SA, et al.,
18

19                        Defendants.

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21          The Court, having considered the stipulation of the parties, and good cause appearing

22   therefore, orders as follows:

23          1.      All claims asserted by Plaintiffs Sears, Roebuck and Co. and Kmart Corp. against

24   Defendants Technicolor SA (f/k/a Thomson SA), Technicolor USA, Inc., (f/k/a Thomson

25   Consumer Electronics, Inc.) (collectively “Technicolor”) and Technologies Displays Americas

26   LLC (f/k/a Thomson Displays Americas LLC) (“TDA”) are dismissed without prejudice pursuant

27   to Rule 41(a)(2) of the Federal Rules of Civil Procedure.

28
                 [PROPOSED] ORER OF DISMISSAL AS TO TECHNICOLOR AND TDA DEFENDANTS
                                   Case No. 07-cv-5944 (JST); MDL No. 1917
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 1              2.      Each party shall bear its own costs and attorneys’ fees.

 2              3.      This Order is not a dismissal of any person or entity other than the Technicolor and

 3   TDA Defendants.

 4              IT IS SO ORDERED.

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 6   This 8th day of February            , 2016.
                                                            HONORABLE JON S. TIGAR
 7                                                          UNITED STATES DISTRICT JUDGE
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                     [PROPOSED] ORER OF DISMISSAL AS TO TECHNICOLOR AND TDA DEFENDANTS
                                       Case No. 07-cv-5944 (JST); MDL No. 1917
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